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     Attorneys for Plaintiff State of California, by and
 8   through Attorney General Xavier Becerra
 9
                             UNITED STATES DISTRICT COURT FOR THE
10
                                NORTHERN DISTRICT OF CALIFORNIA
11

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14   STATE OF CALIFORNIA, BY AND                              Case No. 3:18-cv-01865-RS
     THROUGH ATTORNEY GENERAL XAVIER
15   BECERRA; COUNTY OF LOS ANGELES;                          STIPULATION TO CASE SCHEDULE
     CITY OF LOS ANGELES; CITY OF                             AND [PROPOSED] ORDER AS MODIFIED
16   FREMONT; CITY OF LONG BEACH;                             BY THE COURT
     CITY OF OAKLAND; CITY OF
17   STOCKTON,                                                Dept:       3
                                                              Judge:      The Honorable Richard G.
18                                          Plaintiffs,                   Seeborg
19                  v.                                        Trial Date: None Set
                                                              Action Filed: March 26, 2018
20
     WILBUR L. ROSS, JR., in his official
21   capacity as Secretary of the U.S.
     Department of Commerce; U.S.
22   DEPARTMENT OF COMMERCE; RON
     JARMIN, in his official capacity as Acting
23   Director of the U.S. Census Bureau; U.S.
     CENSUS BUREAU; DOES 1-100,
24
                                         Defendants.
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                                               Stipulation to Case Schedule and [Proposed] Order (3:18-cv-01865)
        Case 3:18-cv-01865-RS Document 79 Filed 08/30/18 Page 2 of 7



 1         Plaintiffs State of California, by and through Attorney General Xavier Becerra, County of
 2   Los Angeles, City of Los Angeles, City of Fremont, City of Long Beach, City of Oakland, and
 3   City of Stockton (collectively, Plaintiffs) and Defendants Wilbur Ross, U.S. Department of
 4   Commerce, Ron Jarmin, and U.S. Census Bureau (collectively, Defendants, and together with
 5   Plaintiffs, the Parties) hereby stipulate as follows:
 6         Based on the agreement of the parties as approved by the Court, and pursuant to the Court’s
 7   request at the August 10, 2018 hearing, below is the schedule for the above-entitled case.
 8         x     Defendants’ responses to Plaintiffs’ requests for production of documents were
 9               served on August 24, 2018. Subject to approval by the Court, the Parties have
10               agreed to extend the due date for Defendants to serve their initial disclosures from
11               August 24, 2018, to August 31, 2018.
12         x     The Parties shall designate expert witnesses by September 19, 2018.
13         x     The Parties shall designate rebuttal witnesses by October 3, 2018.
14         x     Discovery shall close on October 11, 2018.
15         x     Any dispositive motions shall be heard on or before December 7, 2018.
16         x     A joint pretrial conference shall be held on January 3, 2019.
17         x     Trial shall begin on January 7, 2019.
18         IT IS SO STIPULATED.
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                                                Stipulation to Case Schedule and [Proposed] Order (3:18-cv-01865)
        Case 3:18-cv-01865-RS Document 79 Filed 08/30/18 Page 3 of 7



 1   Dated: August 29, 2018                      Respectfully Submitted,
 2                                               XAVIER BECERRA
                                                 Attorney General of California
 3                                               MARK R. BECKINGTON
                                                 Supervising Deputy Attorney General
 4                                               GABRIELLE D. BOUTIN
                                                 Deputy Attorney General
 5

 6                                               /s/ R. Matthew Wise
                                                 R. MATTHEW WISE
 7                                               Deputy Attorney General
                                                 Attorneys for Plaintiff State of California, by
 8                                               and through Attorney General Xavier
                                                 Becerra
 9

10
     Dated: August 29, 2018                      CHAD A. READLER
11                                               Acting Assistant Attorney General
12                                               BRETT A. SHUMATE
                                                 Deputy Assistant Attorney General
13
                                                 CARLOTTA P. WELLS
14                                               Assistant Branch Director
15                                               /s/ Kate Bailey
                                                 KATE BAILEY
16                                               STEPHEN EHRLICH
                                                 CAROL FEDERIGHI
17                                               Trial Attorneys
                                                 United States Department of Justice
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19                                               Washington, DC 20530
                                                 Phone: (202) 514-9230
20                                               Email: kate.bailey@usdoj.gov
                                                 Attorneys for Defendants
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                                     Stipulation to Case Schedule and [Proposed] Order (3:18-cv-01865)
        Case 3:18-cv-01865-RS Document 79 Filed 08/30/18 Page 4 of 7



 1   Dated: August 29, 2018                      /s/ Margaret L. Carter _______
                                                 MARGARET L. CARTER, SBN 220637
 2                                               DANIEL R. SUVOR
                                                 O’MELVENY & MYERS LLP
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                                                 400 S. Hope Street
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 5                                               Fax: (213) 430-6407
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 6                                               Attorneys for Plaintiff County of Los Angeles

 7
     Dated: August 29, 2018                      MIKE FEUER
 8                                               City Attorney for the City of Los Angeles

 9                                               /s/ Valerie Flores _______
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14   Dated: August 29, 2018                      HARVEY LEVINE
                                                 City Attorney for the City of Fremont
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                                                 /s/ Harvey Levine _______
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18                                               Fax: (510) 284-4031
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20   Dated: August 29, 2018                      CHARLES PARKIN
                                                 City Attorney for the City of Long Beach
21
                                                 /s/ Michael J. Mais _______
22                                               MICHAEL K. MAIS, SBN 90444
                                                 Assistant City Attorney
23                                               333 W. Ocean Blvd., 11th Floor
                                                 Long Beach CA, 90802
24                                               Telephone: (562) 570-2200
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25                                               Email: Michael.Mais@longbeach.gov

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                                     Stipulation to Case Schedule and [Proposed] Order (3:18-cv-01865)
        Case 3:18-cv-01865-RS Document 79 Filed 08/30/18 Page 5 of 7



 1   Dated: August 29, 2018                      BARBARA J. PARKER
                                                 City Attorney for the City of Oakland
 2
                                                 /s/ Erin Bernstein _______
 3                                               MARIA BEE
                                                 Special Counsel
 4                                               ERIN BERNSTEIN, SBN 231539
                                                 Supervising Deputy City Attorney
 5                                               MALIA MCPHERSON
                                                 Attorney
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10   Dated: August 29, 2018                      JOHN LUEBBERKE
                                                 City Attorney for the City of Stockton
11
                                                 /s/ John Luebberke _______
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13                                               Stockton, CA 95202
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14                                               Fax: (209) 937-8898
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                                     Stipulation to Case Schedule and [Proposed] Order (3:18-cv-01865)
       Case 3:18-cv-01865-RS Document 79 Filed 08/30/18 Page 6 of 7



 1                                     FILER’S ATTESTATION
 2         Pursuant to Civil Local Rule 5-1(i)(3), regarding signatures, I hereby attest that
 3   concurrence in the filing of this document has been obtained from all signatories above.
 4   Dated: August 29, 2018                              /s/ R. Matthew Wise
                                                         R. MATTHEW WISE
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                                             Stipulation to Case Schedule and [Proposed] Order (3:18-cv-01865)
         Case 3:18-cv-01865-RS Document 79 Filed 08/30/18 Page 7 of 7



 1                                            [PROPOSED] ORDER
 2         Based on the Parties’ Stipulation to Case Schedule, the schedule for the above-entitled case
 3   shall be as follows:
 4         x      Defendants’ responses to Plaintiffs’ requests for production of documents were due
 5                (and were served) on August 24, 2018. Defendants’ initial disclosures shall be due
 6                on August 31, 2018.
 7         x      The Parties shall designate expert witnesses by September 19, 2018.
 8         x      The Parties shall designate rebuttal witnesses by October 3, 2018.
 9         x      Discovery shall close on October 11, 2018.
10         x      Any dispositive motions shall be heard on or before December 7, 2018.
                                                                       2,
11         x      A joint pretrial conference shall be held on January 3, 2019.
12         x      Trial shall begin on January 7, 2019.
13         IT IS SO ORDERED.
14
     DATED: _____________________
            8/30/18                                             ______________________________
15                                                              HON. RICHARD SEEBORG
                                                                United States District Court Judge
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     Stipulation to Case Schedule and Proposed Order.docx
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                                                   Stipulation to Case Schedule and [Proposed] Order (3:18-cv-01865)
